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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY

                                        )
    IN RE: JOHNSON & JOHNSON            )
    TALCUM POWDER PRODUCTS              )            MDL No. 2738 (MAS) (RLS)
    MARKETING, SALES PRACTICES AND )
    PRODUCTS LIABILITY LITIGATION       )            NOTICE OF INTENT TO
    ___________________________________ )            SERVE SUBPOENA
                                        )
    This Document Relates To All Cases  )
                                        )



          PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure

    45(a)(4), Defendant Johnson & Johnson (“Defendant”) hereby notifies all parties of

    its intent to serve the attached Subpoena to Produce Documents, Information, or

    Objects or to Permit Inspection of Premises in a Civil Action on KCIC, LLC on

    December 19, 2023 or as soon thereafter as reasonably practicable.



    Dated: December 19, 2023                    By: /s/ Stephen D. Brody
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